                          Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 1 of 14

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                           Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Burkhalter Rigging, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  16525 FM 521                                                    P.O. 9360
                                  Rosharon, TX 77583                                              Columbus, MS 39701
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Brazoria                                                        Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.burkhalter.net


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   Partnership (excluding LLP)
                                   Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                           Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 2 of 14
Debtor    Burkhalter Rigging, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                2379

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                        Chapter 7
                                        Chapter 9
                                          Chapter 11. Check all that apply:
                                                              Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                              A plan is being filed with this petition.
                                                              Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                              The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                              The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        Chapter 12


9.   Were prior bankruptcy              No.
     cases filed by or against
     the debtor within the last 8       Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                Case number
                                                 District                                 When                                Case number


10. Are any bankruptcy cases            No
    pending or being filed by a
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     See Rider 1                                                   Relationship              Affiliate
                                                            Southern District of
                                                 District   Texas                         When                            Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 3 of 14
Debtor   Burkhalter Rigging, Inc.                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                  Why does the property need immediate attention? (Check all that apply.)
                                           It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                           It needs to be physically secured or protected from the weather.
                                           It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                           Other
                                          Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                          Is the property insured?
                                           No
                                           Yes. Insurance agency
                                                      Contact name
                                                      Phone



         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50     million             $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
                         Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 4 of 14
Debtor    Burkhalter Rigging, Inc.                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 31, 2019
                                                  MM / DD / YYYY


                             X   /s/ Brooke Burkhalter                                                    Brooke Burkhalter
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ Marcus A. Helt                                                        Date January 31, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Marcus A. Helt
                                 Printed name

                                 Foley & Lardner LLP
                                 Firm name

                                 2021 McKinney Avenue
                                 Suite 1600
                                 Dallas, TX 75201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     214-999-3000                  Email address      mhelt@foley.com

                                 24052187 TX
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                   Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 5 of 14


         Fill in this information to identify the case:

         Debtor 1                 BURKHALTER RIGGING INC.
                                  First Name              Middle Name       Last Name

         Debtor 2
         (Spouse, if filing)      First Name              Middle Name       Last Name


         United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

         Case number                                                                Chapter   11
              (if known)




                                                              Rider 1
                               Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor


                On the date hereof, each of the entities listed below (collectively, the "Debtors") filed a petition
        in the United States Bankruptcy Court for the Southern District of Texas for relief under chapter 11 of
        the title 11 of the United States Code. The Debtors have moved for joint administration of these
        cases under the case number assigned to the chapter 11 case of Burkhalter Rigging Inc.

                               1. Burkhalter Rigging Inc.

                               2. Burkhalter Specialized Transport LLC

                               3. Burkhalter Transport Inc.




4824-6463-6293.2
                              Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 6 of 14


 Fill in this information to identify the case:Buk,
 Debtor name        Burkhalter Rigging, Inc., et al.
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                                   Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured
Claims and Are Not Insiders                                                                12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 TORTORIGI            Joseph Tortorigi                           Trade Debt             Unliquidated                                                                    $545,751.00
 HAULING INC
 PO BOX 13            Joseph@Tortorigi.
 Trussville, AL 35173 com
                      205-655-8785
 MCDONOUGH            Christine Wale                             Trade Debt             Unliquidated                                                                    $533,361.95
 MARINE SERVICE
 3500 N CAUSEWAY Cwale@mcdonoug
 BLVD                 hmarine.com
 SUITE 900            504-780-8100
 Manvel, TX 77578
 FAGIOLI INC          Federico Dallaglio                         Trade Debt             Unliquidated                                                                    $401,688.00
 21310 HWY 6
 Manvel, TX 77578     f.dallaglio@fagioli.
                      com
                      281-997-3434
 BUCKNER              Michael Holt                               Trade Debt             Contingent                                                                      $389,138.37
 HEAVYLIFT                                                                              Disputed
 CRANES LLC           michaelh@buckner
 4732 NC 54 E         companies.com
 Graham, NC 27253     336-376-8888
 HOVAGO               Marcel Riemslag                            Trade Debt             Unliquidated                                                                    $357,000.00
 GALVANISTRAAT
 35                   Riemslag@hovago.
 3316 GH              com
 DORDRECHT            31-10-892-0475
 THE NETHERLANDS
 TRINITY LOGISTICS Hannah Rogers                                 Trade Debt             Unliquidated                                                                    $348,530.74
 INC
 PO BOX 62702         hannah.rogers@tri
 Baltimore, MD        nitylogistics.com
 21264-2702           302-536-2466
 MAXIM CRANE          Kelly Shelton                              Trade Debt             Unliquidated                                                                    $321,237.65
 WORKS
 LOCKBOX 774389       kshelton@maximcr
 4389 SOLUTIONS       ane.com
 CENTER               979-233-6361
 Chicago, IL 60677

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                              Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 7 of 14



 Debtor     Burkhalter Rigging, Inc., et al.                                                                  Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 CAPITAL CITY                    Nick Salvatore                  Trade Debt             Disputed                                                                        $272,418.75
 GROUP, INC.
 2299 Performance                nsalvatore@ccgrou
 Way                             p-inc.com
 Columbus, OH                    614-278-2120
 43209
 CREATIVE                        Lindsey Herrington Trade Debt                          Unliquidated                                                                    $242,971.61
 LODGING
 SOLUTIONS LLC                   lindsey.herrington
 PO BOX 896065                   @yourcls.com
 Charlotte, NC 28289             859-381-1825
 RITTER FOREST                   Sharon Hartford                 Trade Debt             Unliquidated                                                                    $223,517.15
 PRODUCTS INC
 PO BOX 1265                     sharon@ritterlumb
 Nederland, TX 77627             er.net
                                 713-673-4800
 RISS CARGO                      Christi Smith                   Trade Debt             Unliquidated                                                                    $164,225.75
 MANAGEMENT
 ONE ST LOUIS                    csmith@risscargo.
 CENTRE                          com
 SUITE 5000                      251-219-3348
 Mobile, AL 36602
 CERES                           Diana Szolga                    Trade Debt                                                                                             $139,800.93
 CONSULTING LLC
 3808 COOKSON                    dianas@ceresbarg
 ROAD                            e.com
 East Saint Louis, IL            618-271-7903
 62201
 FLEET                           Heather Dale                    Trade Debt             Unliquidated                                                                    $119,945.00
 MANAGEMENT
 221 N HOGAN ST                  heather@fmsgl.co
 SUITE 367                       m
 Jacksonville, FL                904-516-9940
 32202
 HEATH &                                        Professional                            Unliquidated                                                                    $118,500.00
 LINEBACK                        PZACHARY@HEAT Services
 ENGINEERS INC                   H-LINEBACK.COM
 2390 CANTON RD                  770-424-1668
 BUILDING 200
 Marietta, GA 30066
 ROADRUNNER                      Michael Wildt                   Trade Debt             Unliquidated                                                                    $115,968.75
 TRANSPORTATION
 PO BOX 95000                    mwildt@ascentgl.c
 Chicago, IL                     om
 60694-5000                      888-656-8848
 CENTRAL BOAT                    Don Orlando       Trade Debt                           Unliquidated                                                                    $104,269.00
 RENTALS INC
 PO BOX 2545                     don@centralboat.c
 Morgan City, LA                 om
 70381                           985-384-8200




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                              Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 8 of 14



 Debtor    Burkhalter Rigging, Inc., et al.                                                                   Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 AMERICAN MAT &                  Cindy Andrews                   Trade Debt             Unliquidated                                                                    $104,257.34
 TIMBER CO
 PO BOX 262448                   candrews@americ
 Houston, TX 77207               anmatandtimber.co
                                 m
                                 713-645-0694
 THOMA                                                           Trade debt                                                                                               $76,187.50
 ENGINEERING LLC
 8784 S. County Rd.,
 33
 Dothan, AL 36301
 KENCO BUCKET                    Randy Starnes                   Trade debt                                                                                               $75,854.35
 TRUCKS LLC
 PO BOX 3140                     randy@highloads.c
 DEPT 450                        om
 Houston, TX 77253               281-459-3100
 DOZIER CRANE                    John Schenger     Trade Debt                                                                                                             $75,564.06
 INC.
 156 PINE BARREN
 RD                              912-748-2684
 Pooler, GA 31322




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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                          Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 9 of 14

                                                               United States Bankruptcy Court
                                                                      Southern District of Texas
 In re      Burkhalter Rigging, Inc.                                                                                  Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 DELYNN BURKHALTER                                                   Common Stock 15 (75%)                                       Common
 c/o Burkhalter Rigging, Inc.
 2193 Highway 45 South
 Columbus, MS 39701

 DELYNN W. BURKHALTER FAMILY TRUST                                   Common Stock 5 (25%)                                        Common
 FBO BROOKE BURKHALTER U/A 2/24/17
 c/o Burkhalter Rigging, Inc.
 2193 Highway 45 South
 Columbus, MS 39701


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the President of the corporation named as the debtor in this case, declare under penalty of perjury that I have
read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date January 31, 2019                                                       Signature /s/ Brooke Burkhalter
                                                                                            Brooke Burkhalter

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                         Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 10 of 14




                                                               United States Bankruptcy Court
                                                                     Southern District of Texas
 In re      Burkhalter Rigging, Inc.                                                                        Case No.
                                                                                  Debtor(s)                 Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Burkhalter Rigging, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 January 31, 2019                                                    /s/ Marcus A. Helt
 Date                                                                Marcus A. Helt
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Burkhalter Rigging, Inc.
                                                                     Foley & Lardner LLP
                                                                     2021 McKinney Avenue
                                                                     Suite 1600
                                                                     Dallas, TX 75201
                                                                     214-999-3000
                                                                     mhelt@foley.com




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                         Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 11 of 14




 Fill in this information to identify the case:

 Debtor name         Burkhalter Rigging, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders
                  (Official Form 204)
                  Other document that requires a declaration     List of Equity Security Holders and Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 31, 2019                        X /s/ Brooke Burkhalter
                                                                       Signature of individual signing on behalf of debtor

                                                                       Brooke Burkhalter
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                    Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 12 of 14



                                       WRITTEN CONSENT OF DIRECTORS
                                        OF BURKHALTER RIGGING, INC.

                The undersigned, Directors of Burkhalter Rigging, Inc. (“BRI”), a Mississippi corporation
        (the “Company”), hereby authorize, approve, consent to, and adopt the following resolutions
        without a meeting, such actions and resolutions to have the same force and effect as though duly
        taken and adopted at a special meeting of the Directors of the Company duly called and legally held
        for the purpose of acting upon proposals to adopt such resolutions:

                           GENERAL AUTHORIZATION AND RATIFICATION

                           WHEREAS, in the judgment of the Directors of the Company, it is desirable
                   and in the best interests of the Company, its creditors, and other interested parties
                   that a petition be filed by the Company seeking relief under the provisions of chapter
                   11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”).

                          NOW, THEREFORE, BE IT

                           RESOLVED that the Officers of the Company are hereby authorized,
                   directed, and empowered, on behalf of and in the name of the Company, to execute
                   and verify a petition in the name of the Company under chapter 11 of the
                   Bankruptcy Code (“Chapter 11”) and to cause the same to be filed in the United
                   States Bankruptcy Court for the Southern District of Texas in such form and at such
                   time as the Officers executing said petition shall determine;

                          RESOLVED FURTHER, the Officers, or any one of them be, and each
                   hereby is, authorized, directed and empowered, on behalf of and in the name of the
                   Company to employ and retain the law firm of Foley Gardere (“Foley”), 2101
                   McKinney Avenue, Suite 1600, Dallas, Texas 75201 as bankruptcy counsel for the
                   Company in the Chapter 11 case;

                          RESOLVED FURTHER, that the Officers, or any one of them be, and each
                   hereby is, authorized, directed and empowered, on behalf of and in the name of the
                   Company to employ and retain such further legal, financial, accounting and
                   bankruptcy services firms (together with Foley, the “Professionals”) as may be
                   deemed necessary or appropriate by the Officers for the Chapter 11 case;

                          RESOLVED FURTHER, that all acts lawfully done or actions lawfully
                   taken by any Officer of the Company or any of the Professionals to seek relief on
                   behalf of the Company under Chapter 11 or in connection with such proceeding, or
                   any matter related thereto, be and hereby are, adopted, ratified, confirmed, and
                   approved in all respects as the acts and deeds of the Company; and




4846-3429-7988.1
                    Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 13 of 14



                          RESOLVED FURTHER, that the Officers be, and each of them hereby is,
                   authorized and empowered, with full power of delegations, for and in the name and
                   on behalf of the Company to amend, supplement or otherwise modify from time to
                   time the terms of any documents, certificates, instruments, agreements or other
                   writings referred to in the foregoing resolutions; and

                           RESOLVED FURTHER, that Burkhalter Rigging Inc. shall appoint a chief
                   restructuring officer (“CRO”), with the CRO being authorized to (a) construct a
                   budget, review disbursements, and create variance reports, (b) assist the Company’s
                   management with all issues related to executing a restructuring, (c) provide court
                   testimony as required, (d) assist with managing vendor relationships, (e) work with
                   the Company’s investment bank to optimize capital structure and assess strategic
                   alternatives, and (g) provide other related services as requested by the Company.




                                               [Signature page to follow]




4846-3429-7988.1
Case 19-30495 Document 1 Filed in TXSB on 01/31/19 Page 14 of 14
